         Case 1:21-cv-00439-N/A Document 1             Filed 08/18/21     Page 1 of 3


               UNITED STATES COURT OF INTERNATIONAL TRADE

__________________________________________x
                                          :
SENTURY TIRE (THAILAND) CO. LTD.,         :
SENTURY TIRE USA INC., GENERAL            :
RUBBER (THAILAND) CO., LTD., ZHONGCE :
RUBBER (THAILAND) CO., LTD., PRINX        :
CHENGSHAN TIRE (THAILAND) CO., LTD., :
LINGLONG INTERNATIONAL TYRE               :
(THAILAND) CO., LTD., and LINGLONG        :
AMERICAS INC.,                            :
                                          :                        SUMMONS
                        Plaintiffs,       :
                                          :                        Court No. 21-00439
      v.                                  :
                                          :
UNITED STATES,                            :
                                          :
                        Defendant.        :
__________________________________________x

TO:   The Attorney General, the Department of Commerce, and/or the Commissioner of U.S.
      Customs and Border Protection, and/or the United States International Trade Commission:

      PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
      U.S.C. § 1581(c) to contest the determination described below.

                                                    /s/ Mario Toscano
                                                    Clerk of the Court

   1. Name and standing of plaintiff: Plaintiffs in this action are Sentury Tire (Thailand) Co.
      Ltd., Sentury Tire USA Inc., General Rubber (Thailand) Co., Ltd., Zhongce Rubber
      (Thailand) Co., Ltd., Prinx Chengshan Tire (Thailand) Co., Ltd., Linglong International
      Tyre (Thailand) Co., Ltd., and Linglong Americas Inc. As foreign producers from
      Thailand and U.S. importers of the subject merchandise, Plaintiffs are interested parties
      within the meaning of 19 U.S.C. § 1677(9)(a), who were parties to the proceeding that
      led to the determination being challenged. Plaintiffs participated in the proceeding
      through the submission of questionnaire responses and written arguments. As such,
      Plaintiffs have standing to challenge the determination at issue pursuant to 28 U.S.C.
      § 2631(c) and 19 U.S.C. § 1516a(d).

   2. Brief description of the contested determination: The contested determination is the U.S.
      International Trade Commission’s final determination in the investigation of passenger
      vehicle and light truck tires from Korea, Taiwan, Thailand, and Vietnam, Inv. Nos. 701-
      TA-647 and 731-TA-1517-1520. Passenger Vehicle and Light Truck Tires from Korea,
      Taiwan, Thailand, and Vietnam, 86 Fed. Reg. 37764 (Int’l Trade Comm.) (July 16,
      2021). The Views of the Commission are contained in USITC Publication 5212 (July
         Case 1:21-cv-00439-N/A Document 1             Filed 08/18/21   Page 2 of 3


      2021), entitled Passenger Vehicle and Light Truck Tires from Korea, Taiwan, Thailand,
      and Vietnam: Investigation Nos. 701-TA-647 and 731-TA-1517-1520 (Final).

   3. Effective date of the determination: July 19, 2021.

   4. Date of publication in Federal Register of notice of contested determination: The U.S.
      International Trade Commission published its final determination in the Federal Register
      on July 16, 2021. Passenger Vehicle and Light Truck Tires from Korea, Taiwan,
      Thailand, and Vietnam, 86 Fed. Reg. 37,764 (Int’l Trade Comm.) (July 16, 2021). The
      resulting antidumping and countervailing duty orders were published on July 19, 2021.
      Passenger Vehicle and Light Truck Tires from Korea, Taiwan, and Thailand:
      Antidumping Duty Orders and Amended Final Affirmative Antidumping Duty
      Determination for Thailand, 86 Fed. Reg. 38,011 (Dep’t Commerce Int’l Trade Admin.)
      (July 19, 2021); Passenger Vehicle and Light Truck Tires from the Republic of Vietnam:
      Countervailing Duty Order, 86 Fed. Reg. 38,013 (Dep’t Commerce Int’l Trade Admin.)
      (July 19, 2021).


                                                   Respectfully submitted,

                                                   /s/ Ned H. Marshak
                                                   Ned H. Marshak
                                                   Max F. Schutzman
                                                   Jordan C. Kahn
                                                   Kavita Mohan
                                                   Brandon M. Petelin

                                                   GRUNFELD, DESIDERIO, LEBOWITZ
                                                   SILVERMAN & KLESTADT LLP
                                                   599 Lexington Ave., 36th Floor,
                                                   New York, NY 10022
                                                   (212) 557-4000
                                                   **
                                                   1201 New York Ave., NW, Suite 650
                                                   Washington, DC 20005
                                                   (202) 783-6881
Dated: August 18, 2021
          Case 1:21-cv-00439-N/A Document 1             Filed 08/18/21     Page 3 of 3


                        SERVICE OF SUMMONS BY THE CLERK

         If this action, described in 28 U.S.C. §1581(c), is commenced to contest a determination
listed in section 516A(a)(2) or (3) of the Tariff Act of 1930, as amended, the action is
commenced by filing a summons only, and the clerk of the court is required to make service of
the summons. For that purpose, list below the complete name and mailing address of each
defendant to be served.

Attorney-In-Charge
International Trade Field Office
Commercial Litigation Branch
U.S. Department of Justice
26 Federal Plaza
New York, New York 10278

Director, Civil Division
Commercial Litigation Branch
U.S. Department of Justice
1100 L Street, NW
Washington, DC 20530

Office of General Counsel
U.S. International Trade Commission
500 E Street SW
Washington, DC 20436


                                                            The Honorable Mario Toscano
                                                            Clerk of the Court

Date: August,__ 2021                                 By:_______________________
